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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
     United States of America,                             CR-13-01607-1-PHX-SRB
 9
                           Plaintiff,
10                                                   ORDER GRANTING PROTECTIVE
             vs.                                              ORDER
11
12   Jean Baptiste Kingery,
13                         Defendant.
14
15          The Court having considered the stipulation of the parties with respect to the
16   disclosure of certain sensitive information contained in discovery to be provided by the
17   government to defense counsel in this matter [Doc. 45], and good cause appearing
18   therefor, the Court hereby ORDERS as follows:
19          1.       In order to permit the government to provide discovery material to defense
20   counsel while avoiding the public disclosure of information, which, if so disclosed, may
21   jeopardize the safety of other individuals, reveal information related to on-going criminal
22   investigations, and reveal sensitive (but not classified) information about government
23   investigative techniques (the “Protected Information”) the discovery that the government
24   will provide to defense counsel in the above-captioned case will be subject to this
25   Protective Order
26          2.       The Protective Order will encompass any discovery, whether, written or
27   typed documentation, electronic data, or audio or video recordings, provided to the
28   defense team (as defined below) that is designated as “Subject to Protective Order.”
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 1          3.       For the purposes of this Order, the term “defense team” means counsel of
 2   record for defendant, paralegal and legal assistants and investigators employed by
 3   counsel of record, and retained experts or potential experts. The “defense team” does not
 4   include defendant or family members and other associates of the defendant.
 5          4.       The government shall mark all discovery subject to the requested Protective
 6   Order, “SUBJECT TO PROTECTIVE ORDER” (“materials designated subject to the
 7   Protective Order”).      Defendant’s counsel may object to any such designation by
 8   application to the Court upon duly noticed motion, after meeting and conferring with the
 9   government regarding the objection. As provided in Paragraph 9 below, any such court
10   filing shall be made under seal.
11          5.       All discovery that the government marks “SUBJECT TO PROTECTIVE
12   ORDER” and produces to defense counsel is solely for the use of defense counsel or
13   other members of the defense team, and shall not be provided to or shared with the
14   defendant or anyone outside the defense team.
15          6.       Upon receipt of materials designated subject to the Protective Order, each
16   member of the defense team who intends to possess or review discovery subject to the
17   Protective Order, will acknowledge in a signed writing that they have read the Protective
18   Order and agree to abide by its terms before they receive or view the discovery.
19          7.       The defense team shall not permit anyone who is not a member of the
20   defense team to retain in his or her possession any materials designated subject to the
21   Protective Order.
22          8.       The defense team shall maintain materials designated subject to the
23   Protective Order in a secure and safe area and shall exercise reasonable care in ensuring
24   the confidentially of the materials.
25          9.       In the event that a party needs to file materials designated subject to the
26   Protective Order with the Court or divulge the contents of such materials in court filings,
27   that party shall move to seal any such filings.
28          10.      The defense team shall access and use materials designated subject to the


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 1   Protective Order only for the preparation and litigation of this matter, and for no other
 2   purpose. Litigation of this matter includes any appeal filed by defendant and any motion
 3   filed by defendant pursuant to 28 U.S.C. § 2255, provided that in any such appeal or
 4   § 2255 motion defendant is represented by counsel who shall have agreed to be bound by
 5   the Protective Order and shall hold the Protected Information subject to the Protective
 6   Order. Upon the final disposition of this case, any materials designated subject to the
 7   Protective Order shall not be used, in any way, in any other matter, absent a court order.
 8   All materials designated subject to the Protective Order maintained in the defense teams’
 9   files shall remain subject to the Protective Order unless and until such order is modified
10   by court order.   Upon conclusion of appellate and post-conviction proceedings, the
11   defendant’s counsel of record or any new counsel as provided in Paragraph 11 shall
12   return the discovery to the government at that time or certify that the discovery has been
13   destroyed.
14         11.    In the event that there is a substitution of counsel prior to when materials
15   designated subject to the Protective Order must be returned, new counsel must join this
16   Protective Order before any materials designated subject to the Protective Order may be
17   transferred from undersigned counsel to new counsel, who then will become the
18   custodian of all materials designated subject to the Protective Order and who shall then
19   become responsible for returning all such materials to the government upon the
20   conclusion of appellate and post-conviction proceedings.
21                                              Dated this 5th day of January, 2016.
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